                                       1   Nathaniel Sterling, State Bar No. 215734
                                           STERLING LAW FIRM
                                       2   4790 Dewey Drive, Suite A
                                       3   Fair Oaks, CA 95628
                                           Phone: 916-801-4386
                                       4
                                           Attorney for Plaintiff Erika Wong
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                                       6                                 UNITED STATES DISTRICT COURT

                                       7                                NORTHERN DISTRICT OF CALIFORNIA
                                       8                                       SAN FRANCISCO DIVISION
                                       9
                                      10     ERIKA WONG,                                     Case Number: 3:18-cv-00124-VC
                                      11                   Plaintiff,                        NOTICE OF VOLUNTARY DISMISSAL
                                      12                                                     WITHOUT PREJUDICE
                                                           v.
                                      13
                                             ANTHONY LEVANDOWSKI, and DOES 1
                                      14
                                             through 10, inclusive,
                                      15
                                                           Defendant.
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STERLING LAW FIRM




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                FAIR OAKS, CA 95628
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                                           Notice of Voluntary Dismissal Without Prejudice               Case No. 3:18-cv-00124-VC
                                       1          NOTICE IS HEREBY GIVEN that pursuant to Federal Rule of Civil Procedure 41(a) and the
                                       2   parties’ tolling/standstill agreement and agreement to mediate this case in good faith, Plaintiff Erika
                                       3   Wong voluntarily dismisses without prejudice the above-entitled action against Defendant Anthony
                                       4   Levandowski, which civil action may by law and said agreement be re-filed in the event the mediation
                                       5   process does not achieve full resolution. Pursuant to Federal Rule of Civil Procedure 41(a)(i), this
                                       6   notice of dismissal without prejudice is being filed with the Court before service by Defendant of
                                       7   either an answer or a motion for summary judgment.
                                       8
                                       9   Date: March 22, 2018                                    STERLING LAW FIRM
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                                                                                            By: /s/ Nathaniel Sterling
                                      12                                                        Nathaniel Sterling, Esq.
                                      13                                                        Attorney for Plaintiff Erika Wong

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                                           Notice of Voluntary Dismissal Without Prejudice                           Case No. 3:18-cv-00124-VC
